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                                           83 Filed 10/20/20 Page 1 of 3




 1   Rene L. Valladares
     Federal Public Defender
 2   Nevada State Bar No. 11479
     Erin Gettel
 3   Assistant Federal Public Defender
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 4   Las Vegas, Nevada 89101
     (702) 388-6577
 5   Erin_Gettel@fd.org
 6
                          UNITED STATES DISTRICT COURT
 7
                                 DISTRICT OF NEVADA
 8
 9
     United States of America,                    Case No. 2:10-cr-0036-GMN-GWF
10
                  Plaintiff,                      First Stipulation to Continue
11
                                                  Revocation Hearing
           v.
12
     Marcus Sullivan,
13
                  Defendant.
14
15
16         The parties jointly request that this Court vacate the October 21, 2020,

17   revocation hearing and continue it for at least 14 days. Undersigned was not

18   able to reach Mr. Sullivan until 4:00 p.m. this afternoon because his phone was

19   damaged, requiring him to obtain a new phone and new phone number.

20   Additional time is needed so that undersigned can advise Mr. Sullivan about the

21   possible sentencing consequences he faces and to determine if the parties can

22   reach a resolution short of a contested revocation hearing.

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      Case 2:10-cr-00036-GMN-GWF Document 84
                                          83 Filed 10/20/20 Page 2 of 3




 1        Mr. Sullivan is not in custody and agrees to the continuance.
 2
          DATED: October 20, 2020.
 3
     Rene L. Valladares                      Nicholas A. Trutanich
 4   Federal Public Defender                 United States Attorney
 5
       /s/ Erin Gettel                         /s/ Kimberly Sokolich
 6   By_____________________________         By_____________________________

 7   Erin Gettel                             Kimberly Sokolich
     Assistant Federal Public Defender       Assistant United States Attorney
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       Case 2:10-cr-00036-GMN-GWF Document 84
                                           83 Filed 10/20/20 Page 3 of 3




 1                        UNITED STATES DISTRICT COURT

 2                               DISTRICT OF NEVADA
 3
 4
     United States of America,                    Case No. 2:10-cr-00036-GMN-GWF
 5
                  Plaintiff,                      Order Granting First Stipulation
 6
                                                  to Continue Revocation Hearing
 7         v.

 8   Marcus Sullivan,
 9                Defendant.
10
11
12         Based on the stipulation of counsel, the Court finds that good cause exists
13   to continue the revocation hearing.
14         IT IS THEREFORE ORDERED that the revocation hearing currently
15   scheduled for October 21, 2020, at 10:00 a.m. is vacated and continued to
16   __Wednesday, November 18, 2020_______ at __1:00 p.m.
17         DATED: October ____,
                           20 2020.

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19
                                            Gloria M. Navarro
20                                          United States Disrict Judge
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